          Case 6:10-cr-60030-SOH                     Document 53           Filed 11/03/11                Page 1 of 6 PageID #: 128
qAO 2458     (Rev.09/08)Judgmentin a Criminal Case
             SheetI



                                         UhrrrnnSrnrnsDrsrrucrCoURT
                         WESTERN                                Districtof                                 ARKANSAS
         TINITEDSTATESOF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                             V.

           PHILLIP STEPHENMEDLEY
                                                                       CaseNumber:                         6:10CR60030-001
                                                                       USM Number:                         10228-010

                                                                       Lisa G. Peters
                                                                       Defendant'sAttomev
THE DEFENDANT:
X pleadedguilty to count(s)         One (l ) and Two (2) of the Indictmenton February2, 201I

I pleadednolo contendereto count(s)
  which was acceptedby the court.
n was foundguilty on count(s)
  aftera pleaof not guilty.

                          guilty ofthese offenses:
The defendantis adjudicated

Title & $ection                   Nature of Offense                                                        OffenseEnded        Count

1 8U . S . C $
             . 22sl(a)            Aiding and Abettingin Productionof a Visual Depictionof a Child            0712010             I

l8 U.S.C.g 2251(b)and             Productionof a Visual Depictionof Child Pornography                         2001               2
(d)

                               as providedin pages2 through
       The defendantis sentenced                                         of thisjudgment. The sentenceis imposedwithin the
statutoryrangeandthe U.S. SentencingOuidelineswereconsideredas advisory.

! The defendanthasbeenfound not guilty on count(s)

X Count(s)                Thtee (3) and Four (4)       I   is   X are dismissedon the motionof the United States.

        It is orderedthatthedefendantmustnotify theUnitedStatesattornevfor this districtwithin 30 daysof any changeof name,residence,
ormailingaddressuntilallfines,restitution,costs,lndspecialassessmentsim:posedbythisjudgmentarefullypaid.    Iforderedtopayrestitution,
the defen-dant                                                                  in economrccircumstances.
               must notifr the court and United Statesattomey of materialch-anges

                                                                      November2, 201I                                      -
                                                                       Date of Irnposition of Judgment



                                                                    ,r,/S/ Robert T. Dawson
                                                                       Signatureol'Judge




                                                                       Name and Title of Judge

                                                                                  ,   ,
                                                                             /r/-t/ tl
               Case 6:10-cr-60030-SOH                 Document 53            Filed 11/03/11          Page 2 of 6 PageID #: 129
AO 2458        (Rev.09/08)Judgmentin Criminal Case
               Sheet2 - lmnrisonment

                                                                                                      Judement-   Paee   2   of   6
DEFENDANT:                      PHILLIP STEPHENMEDLEY
CASE NUMBER:                    6:10CR60030-00
                                             I


                                                              IMPRISONMENT

        The defendantis herebycommittedto the custodyof the United StatesBureauof Prisonsto be imprisonedfor a
total term of;    twenty-five (25) years on Count I and twenty (20) years on Count 2, terms to run concurrently




  X       The courtmakesthe following recommendationsto the Bureauof Prisons;
          The Court requeststhat the defendant be consideredfor placement in a medical facility.




  X       The defendantis remandedto the custodvof the UnitedStatesMarshal.

  !       The defendantshallsurrenderto the UnitedStatesMarshalfor this district;

          n a t                                      E a.m.     n   p.m.     on

          !      asnotifiedby the United StatesMarshal.

                                                                                     by the BureauofPrisons:
          The defendantshallsurrenderfor serviceofsentenceat the institutiondesignated

                 beforeI p.m.on

          tr     as notified by the United StatesMarshal.

          !      as notified by the Probationor Pretrial ServicesOffice.



                                                                    RETURN
I haveexecutedthi$judgmentas follows;




          Defendantdeliveredon

                                                       with a certified copy of this judgment.



                                                                                                    LJNITED STATES MARSHAL



                                                                           By
                                                                                                 DEPUTYUNITEDSTATE$MARSHAL
              Case 6:10-cr-60030-SOH                   Document 53           Filed 11/03/11          Page 3 of 6 PageID #: 130
AO 2458        (Rev.09/08)Judgmentin a Criminal Case
               Sheet3 - SupervisedRelease
                                                                                                        Judgment-Page           of   -..1[-
DEFENDANT:                     PHILLIPSTEPHENMEDLEY
CASENUMBER:                    6:10CR60030-001
                                                        SUPERVISED
                                                                 RELEASE
                            the defendantshallbe on supervised
Upon releasefrom imprisonment,                               releasefor a term of ;                  life on Count l and 3 years on Count 2




    The defendantmustreportto the probationoffice in the districtto which the defendantis releasedwithin 72 hoursof releasefrom the
custodyofthe BureauofPrisons.
The defendantshall not commit anotherfederal,stateor local crime.
The defendantshallnot unlawfullvDossess a controlledsubstance.The defendantshallrefrainfrom any unlawful useofa controlled
substance.The defendantshallsutinit to one drugtestwithin 15 daysof releasefrom imprisonmentanil at leasttwo periodicdrugtests
thereafter,as determinedby the court.
!          The abovedrugtestingconditionis suspended,                              that the defendantposesa low risk of
                                                    basedon the court'sdetermination
                         abuse.(Check,if applicable.)
           futuresubstance
X                                      a firearm,ammunition,destructivedevice,or any otherdangerousweapon. (Check,if applicable.)
           The defendantshallnot po$sess

X          The defendantshallcooperatein the collectionofDNA asdirectedby the probationofficer. (Check,ifapplicable.)

X          The defendantshallregisterwith the statesexoffenderregistrationagencyin the statewherethe defendantresides,works,or is a
           student,asdirectedby the probationofficer. (Check,ifapplicable.)
!          The defendantshallparticipatein an approvedprogramfor domesticviolence. (Check,ifapplicable.)
    If thisjgdgmentimposesa fine or restitution,it is a conditionof supervisedreleasethat the defendantpay in accordance
                                                                                                                       with the
ScheduleofPalments slieetof thisjudgment.
     The defendantmustcomplywith the standardconditionsthat havebeenadoptedby this court aswell aswith any additionalconditions
on the attachedpage.

                                          STANDARD CONI}ITIONS OF SUPERVISION
     l)     the defendantshallnot leavethejudicial districtwithoutthe permissionof the courtor probationofficer;
     2)     the defendantshallreportto the probationofficer and shallsubmita truthful and completewritten reportwithin the first five daysof
            eachmonth:
     3)     the defendantshallanswertruthfully all inquiriesby the probationoflicer and follow the instructionsof the probationofficer;
     4)     the defendantshallsupporthis or her dependents
                                                         andmeetotherfamily responsibilities;
     5)'    the defendantshallwork regularlyat a lawful occupation,unlessexcusedby the probationofficer for schooling,training,or other
            acceptablereasons;
     6)     the defendantshall notify the probationofficer at leastten days prior to any changein residenceor employment;
     7)     the defendantshallrefrainfrom excessiveuseofalcohol and shallnot purchase.Dossess.  use.distribute.or administerany
            controlledsubstanceor any paraphernaliarelatedto any controlledsubttances,eicept as prescribedby a physician;
     8)     the defendantshallnot frequentplaceswherecontrolledsubstances
                                                                        areillegally sold,used,distributed,or administered;
     e) the defendantshallnot associatewith any personsengagedin criminalactivityandshallnot associatewith any personconvictedof a
            felony,unlessgrantedpermissionto do io'by the proEaTion
                                                                  officer;
    l0)'    the defendantshall permit a probationofficer to visit llim or her at any time at homeor elsewhereand shall permit confiscationof any
            contrabandobserve?l  in plain view of the probationofficer;
    I I)    the defendantshall notify the probationofficer within seventy-twohoursofbeing arrestedor questionedby a law enforcementofficer;
    l2)'    the defendan!shall not enter into any agreementto act as an informer or a special agent ofa law enforcementagencywithout the
            permissionof the court;and
    l3)'    asdirectedbv the nrobationofficer.the defendantshallnotifuthird nartiesofrisks thatmav be occasioned     by the defendant'scriminal
            record or neisonal historv or characteristicsand shall penirit the'nrobation officer to rfrakesuch notificitions and to confirm the
            defendantrscompliancewith suchnotificationrequirembnt.
          Case 6:10-cr-60030-SOH                    Document 53       Filed 11/03/11         Page 4 of 6 PageID #: 131
AO 2458     (Rev.06/05)Judgmentin a Criminal Case
            Sheet3C - SupervisedRelease
                                                                                                Judgment-Page          of   -S-
DEFENDANT:                PHILLIP STEPHENMEDLEY
CASENUMBER:               6:10CR60030-001

                                       SPECIAL CONDITIONS OF SUPERVISION

    l . Thg defendantshall participatein a programapprovedby the U.S. ProbationOffice for the treatmentand monitoring of sex
        offenders.
    ",                                                     placeof emplovment.and vehicleto a searchconductedby the UnitedStates
          The defendantshallsubmithis nerson.residence.
          ProbationOffice at a reasonablEtime hnd in a reis'orrablemannefbasedupon reasonablesuspicionof evidericeof violation of any
          conditionof supervisedrelease.The defendantshallwarn any otherresidentsthat their -premisesmay be subjectto search
          pursuantto this condition.Failureto submitto a searchmay be groundsfor revocation.

    3 . The defendantshallsubmitto locationmonitoringas directedby the probationoffice.
          Case 6:10-cr-60030-SOH                       Document 53                    Filed 11/03/11          Page 5 of 6 PageID #: 132
AO 2458   (Rev.09/08)Judgmentin a Criminal Casc
          Sheet5 - Criminal Monetary Penalties
                                                                                                          Judgment-   Page -l-       of   -S-
DEFENDANT:                      PHILLIPSTEPHENMEDLEY
CASENUMBER:                     6:10CR60030-001
                                      CRIMINAL MONETARY                                     PENALTIES

     The defendantmustpay the total criminalmonetarypenaltiesunderthe scheduleof paymentson Sheet6.


                   Assessment                                                  Fine                              Bectigullsu
TOTALS           $ 200.00                                                     s -0-                            $ -0-


tr   Thedeterminationofrestitutionisdefeneduntil                         . An AmendedJudgmentin a Criminal Case(AO245C) will be entered
     after suchdetermination.

n    The defendantmustmakerestitution(includingcommunityrestitution)to the following payeesin the amountlistedbelow.

     If the defendantmakesa uartialDavment.eachnaveeshallreceivean annroximatelvnroportionedpayment,unlessspecifiedotherwisein
     the priority orderor perctntagepayment'coluninbelow.However,puiduantto l8U.S.C. $ 366aG),all nonfederalvictims mustbe paid
     bef<irethe UnitedStdtesis paid.'

Name of Payee                               Total Lo$s*                                RestitutionOrdered                   Priority or fetreenlqee




TOTALS


n    Restitutionamountorderedpursuantto pleaagreement$

tr   The defendantmustpay intereston restitutionand a fine of morethan$2,500,unlessthe restitutionor fine is paid in full beforethe
     fifteenthday afterthe dateof thejudgment,pursuantto l8 U.S.C.$ 3612(f). All of the paymentoptionson Sheet6 may be subject
     to penaltiesfor delinquencyand default,pursuantto l8 U.S.C.$ 3612(e).

X                       that the defendantdoesnot havethe ability to pay interestand it is orderedthat:
     The courl determined

     X    the interestrequirementis waived for the            X        fine    tr   restitution.

     tr   the interestrequirementfor the          tr   fine       tr     restitutionis modified as follows;



+ Findingsforthetotalamou_ntof                           109A,I 10,I l0A, and I l3AofTitle l8 foroffensescommittedonorafter
                            lossesarerequiredunderChapters
Septembtr13,1994,but beforeApril23, 1996.
           Case 6:10-cr-60030-SOH                       Document 53              Filed 11/03/11            Page 6 of 6 PageID #: 133
AO 2458       (Rev.09/08)Judgmentin a CriminalCase
              Sheet6 * Scheduleof Pavments
                                                                                                              Judgment-   Page -S-       of   -$-
DEFENDANT:                    PHILLIP STEPHENMEDLEY
CASENUMBER:                   6: l 0CR60030-00
                                             I

                                                        SCHEDULE OF PAYMENTS

             the defendant'sability to pay,paymentof the total criminalmonetarypenaltiesaredue as follows:
Havinga$sessed

A     X       Lump sumpaymentof $           200.00              due immediately,balancedue

              !     not laterthan                                    ,or
              X     in accordance         nc, trD, n                  E, or     f, F below;or

 B    tr      Paymentto beginimmediately(may be combinedwith                  E C,       !   D, or    I F below);or

 C    tr           in equal
              Payment                            (e.g.,weekly,monthly,quarterly)installmentsof $                   over a periodof
                             (e.g.,monthsor years),to commence             (e.g.,30 or 60 days)afterthe dateof thisjudgment;or

 D    tr            in equal
              Payment                        (e.g.,weekly,monthly,quarterly)installmentsof $                  over a periodof
                         (e.g.,monthsor years),to commence             (e.g.,30 or 60 days)afterreleasefrom imprisonment  to a
                                or
              termof supervision;
                                                                                         (e.g.,30 or 60 days)afterreleasefrom
      tr Paymentduringthe termof supervisedreleasewill commencewithin
                                                                               of the defendant'sability to pay at that time; or
              imprisonment.The courtwill setthe paymentplan basedon an assessment

      X       Specialinstructionsregardingthe paymentof criminalmonetarypenalties:
              If not paidimmediately.      any unpaidflnancialpenaltyimposedshallbe paidduringthe period^ofincarceration             at a rateof not less
              iffi"$55.60ffii,tiiiiui'rjr. idvftT'iiie'd;TilA;;it'qiiirGrly     ;iinings, wtiicheveris*greatbr.. After-incarceration, any unpaidfinancial
              ffi;lfii#ll$Jffi;        h"#;i"I";;iaidfi     "f ilp"ltiirecl rjledJe infi riraybri peid in Tnonthlyinstallmentsof not lesi thah l0% of the
              fi;ifilffiiT;;ilffiihliftG;ffiia-i;;;il;,;Idi                                                                     of supervised
                                                                  i#;ntiii 6dti""ti"be pdiain f'ulloneinonthpriorto thetermination
              release.



             "[ri
 Unlessthecourt                                                              paymentofcriminal monetarypenaltiesis dueduring
               hasexpresslyorderedotherwise,ifthis judgmentimposesimprisonment,
 i:#;i#;;i.              [iilitiiidf ;i#ffiy};;ifiL,                        niiitli'iiiio"EfitireFeai'ii Bureauof Priirins'InmateFinancia-l
                                                          "***pr rnosepaymenrs
              Program,are madeto thsclerk of the court.
 Rebponsibility

 The defendantshallreceivecreditfor all paymentspreviouslymadetowardany criminalmonetarypenaltiesimposed.




 !    Jointand Several

      DefendantandCo-Defendant Namesand CaseNumbers(includingdefendantnumber),Total Amount,Jointand SeveralAmount,
                     payee,if appropriate.
      andcorresponding




 !    The defendantshallpay the costofprosecution.

 tr   The defendantshallpay the following court cost(s):

 D    The defendantshallforfeit the defendant'sinterestin the foltowingpropertyto the United States:




 pavmentsshallbe appliedin the following order:(l) assessme4t,                                                  (4) fine principal,
                                                                 (2) restitutionprincipal,(3) restitution.interest,
 (5f fine interest,(6)bbmmunityrestitution,(7) penalties,and(S) costs,includtngcostot prosecutlonand courtcosrs.
